EXHIBIT F
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                     Forest Service
                     U.S. DEPARTMENT OF AGRICULTURE


FS-1253 | November 2024



                                                 A GUIDE TO THE
                                                 CLIMATE RISK VIEWER



                                                                                          Longleaf pine on Kisatchie National
                                                                                             Forest, LA. USDA Forest Service
                                                                                                      photo by Preson Keres.



Identify climate change vulnerabilities and threats to national forests and grasslands
using more than 140 map layers curated by experts.
Created in response to the U.S. Secretary of Agriculture’s memo on climate resilience (Memo 1077-004), the
Climate Risk Viewer is a one-stop shop for climate-related geospatial data. The viewer presents comprehensive
insight into how climate change may affect national forests and grasslands.

Researchers, planners, land managers, students, and members of the public can use the viewer to explore more
than 140 data layers to visualize relationships, inform spatial analyses, and identify additional resources related
to climate risks and vulnerabilities.



  How to use the Climate Risk Viewer?
  Explore data:                                              Answer questions such as:
    • Assess the impacts of climate change on                  • Which areas will experience the largest changes
      wilderness areas and wild and scenic rivers.               in temperature and snowfall?
    • Highlight watersheds where future predicted              • Which forests will be most affected by drought?
      climate change and demands on water supply               • What habitat types are most vulnerable to
      will be the greatest.                                      extreme wildfire?
    • Identify areas where mature and old-growth               • Which National Forest System lands have the
      forests on Forest Service and Bureau of Land               highest scores for terrestrial condition?
      Management lands are most threatened by
      future climate change.

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QUICK START GUIDE
1. Navigate to https://arcg.is/WyiTi.
2. View the introduction page to learn about the background of the Climate Risk Viewer and access resources
such as the FAQ, data catalog, version history, and citation information.

3. Learn about the themes by clicking on the relevant pages, where each page has a similar structure: an in-
troduction to the theme, relevant tools and reports, descriptions of each dataset, and an interactive map that
allows users to explore the datasets. Themes include: Climate Exposure and Vulnerability, Management Intent,
Water and Watersheds, Biodiversity and Species at Risk, Carbon, Reforestation, Mature and Old-Growth For-
ests, and Firesheds.

The “All Data” tab contains all data from the Climate Risk Viewer in one place.
                                                                            Tabs at the top will take you to the
                                                                            other pages in the Climate Risk Viewer.




                                                                            These headers describe the sections of
                                                                            the page for that theme. Read through
                                                                            it all or click on a header to skip ahead.




                                                                            The Explore the Data section is an
                                                                            interactive map.




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Explore data for each theme:
                                                                                                                   Toggle to
The                                                                                                                Comparison
checkable                                                                                                          View to see two
boxes in                                                                                                           maps at once.
the table
of contents
                                                                                                                   Share your
draw layers
                                                                                                                   custom map.
on the map.
                                                                                                                   This button
                                                                                                                   preserves your
                                                                                                                   selected layers
                                                                                                                   and the current
When a layer                                                                                                       map extent so
is visible on                                                                                                      you can share
the map, it                                                                                                        exactly what
shows up in                                                                                                        you are looking
the legend.                                                                                                        at with anyone.


For all instructions, click this button on the map:


Find data with ease:
   • Simply access all datasets.
   • Overlay map layers or see them side by side.
   • Create a custom map view to share.




                                                                                                         Ready to
                                                                                                         use the data
                                                                                                         for decision
                                                                                                         making?
                                                                                                         Use the data catalog
                                                                                                         to learn about the
                                                                                                         datasets, such as where
                                                                                                         to find and download
                                                                                                         the data.




A key finding of the threat analysis, showcased in this image, is that by mid-century, more than half
of the firesheds containing mature and old-growth forests will have very high exposure to fire-related
mortality.


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Try this!
   • Open the “Climate Exposure and Vulnerability” theme.
   • Scroll down or skip to Explore the Data section.
   • Expand the Vulnerability section in the table of contents and check the box on “Terrestrial Condition
     Scores” to turn on the layer.
   • Zoom to northern California and note that the legend describes that the red areas are “Very Poor.”
   • Expand the Climate section by clicking on “>” and then “Snow Residence Time: Percent Change.”
   • Now it is possible to see which National Forest System lands with a “Very Poor” rating for “Terrestrial
     Condition” will also see a large reduction in snow residence time in the future.



                                                                                                                Click the three dots
                                                                                                                on the “Climate”
                                                                                                                group name and
                                                                                                                then “Increase
                                                                                                                Transparency” to see
                                                                                                                both at once.




The Climate Risk Viewer provides the functionality to change the transparency of the map layers displayed.




     Questions or comments?
     Contact SM.FS.OSC_Inquiry@usda.gov.




Steamboat Creek in the Boulder Creek Wilderness on the Umpqua National Forest, OR. USDA Forest Service photo.

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https://www.fs.usda.gov/sites/default/files/fs_media/fs_document/climate-risk-viewer-quick-guide.pdf                                                  1/1
